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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------X
SARA DEVINCENZI as administrator for the                             :
ESTATE OF BENJAMIN DEVINCENZI,                                        :
                                                                      :
                                        Plaintiff,                    :
                                                                      :
                    - against -                                       :           ORDER
                                                                      :    19-CV-6012 (VSB)(KNF)
THE CITY OF NEW YORK, a municipal entity,                             :
NEW YORK CITY POLICE OFFICER PAULE                                    :
RIVERA, NEW YORK CITY POLICE OFFICERS                                 :
“JOHN DOES 1-9,”                                                      :
                                                                      :
                                        Defendants.                   :
---------------------------------------------------------------------X
KEVIN NATHANIEL FOX
UNITED STATES MAGISTRATE JUDGE

         IT IS HEREBY ORDERED that a telephone conference shall be held in the above-captioned

action on November 24, 2020, at 2:00 p.m.             The parties are directed to call (888) 557-8511 and,

thereafter, enter access code 4862532.

Dated: New York, New York                                            SO ORDERED:
        November 6, 2020
